             Case 2:20-cr-00032-JCC Document 182-1 Filed 04/07/21 Page 1 of 1




 1                                                       THE HONORABLE JOHN C. COUGHENOUR

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                              UNITED STATES DISTRICT COURT FOR THE
 6                              WESTERN DISTRICT OF WASHINGTON
 7                                        AT SEATTLE

 8     UNITED STATES OF AMERICA,                         NO. CR20-032JCC
 9                                            Plaintiff, ACCEPTANCE OF PLEA OF
10                                                       GUILTY, ADJUDICATION OF
       v.                                                GUILT AND NOTICE OF
11                                                       SENTENCING
       CAMERON SHEA,
12
13                                         Defendant.

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            This Court, having considered the Report and Recommendation of the United States
16 Magistrate Judge, to which there has been no timely objection, and subject to consideration of the
17 Plea Agreement pursuant to Fed. R. Crim. P. 11(c)(1)(B), hereby accepts the plea of guilty of the
18 defendant to the charge contained in Counts 1 and 5 of the Indictment, and the defendant is adjudged
19 guilty of such offenses. All parties shall appear before this Court for sentencing as directed.
20          IT IS SO ORDERED this _____ day of March, 2021.

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22                                                        _______________________________
                                                          JOHN C. COUGHENOUR
23                                                        United States District Judge
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      ACCEPTANCE OF PLEA OF GUILTY                                                 UNITED STATES ATTORNEY
                                                                                  700 STEWART STREET, SUITE 5220
      United States v. Cameron Shea                                                 SEATTLE, WASHINGTON 98101
      CR20-032JCC - 1                                                                     (206) 553-7970
